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                                 San Diego County Crime Stoppers                                 P3 INTEL
            IID•-•
  •-m+cl:ll·••·miiiHDIMlcm:+~1
                          ..     1401 Broadway                                                  Confidential
      STOPPERS                   San Diego, California 92101-5710                         Law Enforcement Use Only
       aa~t;;:t;::;;-w           619-531-154 7 / 619-531-1500 1 www.sdcrimestoppers.org

 I Offense Type : Attempt Homicide                                                           Tip ID: 409-M30579
iI Delivered To: SOSO-CID                                                                  Created : 2019/05/29
i Follow-Up By: 2019/06/28                                                                    Time: 1 :49 AM
  - - - - -·• e-••··--·-·--·----· ----·-·-·-·--··-..- - . - - - - - - - - - - - - -
1..

 Narrative
  On May 23rd 2019 three members of the peckerwood motorcycle club araon Lang Matt wood and jhonny
  we're forced at gunpoint by Darrell Denison and Trent solis to turn over there Harley Davidson motorcycles
  and there club colors and they were beat with a bat so bad one guy is still in hospital they are scared to say
  anything because they were told they would get killed the Aryan brotherhood in San Diego member Michael
  Trippe Kelly English and Neal president of the reikers motorcycle club ordered them to take care of the three
  and take their bi_
                   kes and to give the address of the three so they can take out them in the near future if
  anybody talked I am scared for my life and don't know what to do and scared to talk to anybody I don't know
  what to do or where to go next
General Information
  Offense Type: Attempt Homicide
  Address of Incident: 9883=chocolate summit drive
  County: Ca
  City, State (required) : El cajon
  Nearest Intersection or Crossing Street: Harbison canyon
  How did you hear about our program? Internet
Suspect
  First Name : Michael
  Last Name: Tripp
  Alias : Shawn
  Race : White
  Gender: Male
  Gang Activity: Ayran brothers
Suspect
  First Name: Trent
  Last Name: Solis
  Suspect's Phone Number: 6194541460
  Gang Activity: Peckerwoods me
Suspect
  First Name: Darrell
 Last Name: Denison
 Gang Activity : Peckerwoods me
Suspect
 First Name: Kelly
 Last Name: English
 Gang Activity: Skin head
Suspect
 First Name : Niel
 Last Name: Tamalage                                                                              GOVERNMENT
 Gang Activity: Reikers me                                                                            EXHIBIT
Vehicle                                                                                                  I
 Make: Harley Davidson
                                                                                                Tip ID 409-M30579 - Page 1 of 2
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Vehicle
 Make : Harley Davidson
Drugs
 Does the suspect sell or use drugs? Yes
 Type of Drug(s) Involved? Metg
 Where is it being sold? (from vehicle, residence, etc.) House
Crime Stoppers   Q   Tipster                                                               2019/5/29 4:09 AM
 Who is still in the hospital? Which hospital are they at? Do you know who else saw this incident? Did this
 incident occur at the Chocolate Summit Drive address or who lives at the Chocolate Summit Drive address?
 We know it's a lot of questions, but these are all questions that will help out the appropriate investigators?
Crime Stoppers   Q   Tipster                                                               2019/5/29 4:09 AM
 Also , why did this happen?

Please use the Tip ID 409-M30579 along with the Disposition ID number 4265347 when completing the
disposition form located at https://www.p3tips.com/dispo.




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                                                                    GOVERNMENT
                                                                      EXHIBIT
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                                                                     GOVERNMENT
                                                                       EXHIBIT
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